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UN|TED STATES D|STR|CT COURT
M|DDLE D|STR|CT OF FLOR|DA
JACKSONV|LLE D|V|S|ON

UN|TED STATES OF AMER|CA
v_ Case Number: 3:16-cr-151-J-34MCR

JOHN R_ B|GGERSTAFF USM Number: 67840-018

Waffa Hanania, FPD

Suite 1240

200 W. Forsyth St.
Jacksonvi||e, FL 32202-4326

 

JUDGMENT |N A CR|M|NAL CASE
For Revocation of Probation

The defendant was found guilty of the allegations charged in Paragraphs Twol Three, Four and Five of the Superseding
Petition. According|y, the Court has adjudicated that the defendant is guilty of these violations:

Vio|ation Charge Number Nature of Vio|ation Vio|ation Ended

Two Positive urinalysis for Cocaine November 13, 2017
Three Failure to participate in drug aftercare treatment November 21, 2017
Four Positive urinalysis for Cocaine December 14, 2017
Five ‘ Positive urinalysis for Cocaine December 19, 2017

The defendant is sentenced as provided in the following pages of this judgment The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

|T |S ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are

fully paid. if ordered to pay restitutionl the defendant must notify the court and United States attorney of material changes
in economic circumstances

Date of imposition of Sentence:

A ri| 5, 2018

    

ARC|A l\/|ORALES H WARD

UN|TE STATES D|STR|CT JUDGE
Apri| , 2018

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|MPNSONMENT

The defendant is hereby committed to the custody of the Federa| Bureau of Prisons to be imprisoned for a total
term of TH|RTV-E|GHT (38) DAYS.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UN|TED STATES MARSHAL
By:

 

Deputy United States Marsha|

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John R. Biggerstaff
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SUPERV|SED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of ONE (1) YEAR.

You shall report to the probation office in the district to which you are released within 72 hours of release from
custody of the Bureau of Prisons.

MANDATORY COND|T|ONS

¥ou must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance

You must refrain from any unlawful use of a controlled substance You must submit to one drug test within 15
days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

$'°.'\’.-*

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.

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STANDARD COND|T|ONS OF SUPERV|S|ON

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed report to the court about, and bring about improvements in your conduct
and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment unless the probation officer instructs you to report to a different probation
office or within a different time frame.

2. After initially reporting to the probation office. you Will receive instructions from the court or the probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
permission from the court or the probation officer.

4. You must answer truthfully the questions asked by your probation officer

5. You must live at a place approved by the probation officer. |f you plan to change where you live or anything about

your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
before the change. lf notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected change

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment unless the probation officer

excuses you from doing so. lf you do not have full-time employment you must try to find full-time employment
unless the probation ocher excuses you from doing so. lf you plan to change where you work or anything about
your work (such as your position or yourjob responsibilities), you must notify the probation officer at least 10 days
before the change. lf notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances you must notify the probation officer within 72 hours of becoming aware of a change
or expected change.

8, You must not communicate or interact with someone you know is engaged in criminal activity. lf you know someone
has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
the permission of the probation officer.

9. lf you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
(i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
another person such as nunchucks or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.
12. |f the probation officer determines that you pose a risk to another person (including an organization)l the probation

officer may require you to notify the person about the risk and you must comply with that instruction The probation
officer may contact the person and confirm that you have notified the person about the risk.
13, You must follow the instructions of the probation officer related to the conditions of supervision

U.S. Probation Office Use On|y

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions For further information regarding these conditionsl see Overview of
Probat/`on and Supervised Re/ease Conditi`ons, available at: www.uscourts.gov.

Defendant’s Signature: Date:

 

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ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

~ You shall participate in the Home Detention program for a period of S|XTY (60) DAYS. During this time, you will
remain at your place of residence except for employment and other activities approved in advance by the probation
office. You will be subject to the standard conditions of Home Detention adopted for use in the Middle District of
Florida, which may include the requirement to wear an electronic monitoring device and to follow electronic
monitoring procedures specified by the probation office. Further, you shall be required to contribute to the costs of
these services not to exceed an amount determined reasonable by the probation office based on your ability to pay.

~ You shall participate in a substance abuse program (outpatient and/or inpatient) and follow the probation officer's
instructions regarding the implementation of this court directive. Further, you shall contribute to the costs of these
services not to exceed an amount determined reasonable by the Probation thce’s S|iding Sca|e for Substance
Abuse Treatment Services. During and upon the completion of this program, you are directed to submit to random
drug testing The Court will consider discontinuing this condition after six months.

- You shall perform the remaining 112 HOURS of your community service as directed by the probation officer.

o You shall pay the remaining $200.00 of your fine.

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